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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


 JOE HAND PROMOTIONS, INC.,

                        Plaintiff,

               - vs -                         CASE NO.: 4:16-cv-00868-O

 S H MAKANI ENTERPRISE, INC., d/b/a
 ANTILLA SMOKE SHOP & LOUNGE
 and VICTORIA CASTELLANOS,
 a/k/a VICTORIA KEELEY,

                        Defendants.


  PLAINTIFF, JOE HAND PROMOTIONS, INC.’S MOTION FOR FINAL DEFAULT
       JUDGMENT AGAINST DEFENDANTS AND SUPPORTING BRIEF

      Plaintiff, Joe Hand Promotions, Inc., by and through its attorney, files this its Motion for

Final Default Judgment against Defendants, S H MAKANI ENTERPRISE, INC., d/b/a ANTILLA

SMOKE SHOP & LOUNGE and VICTORIA CASTELLANOS, a/k/a VICTORIA KEELEY and

Supporting Brief (“Motion”), which is supported by the following brief and the accompanying

Appendix.




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     PLAINTIFF, JOE HAND PROMOTIONS, INC.’S MOTION FOR FINAL DEFAULT
          JUDGMENT AGAINST DEFENDANTS AND SUPPORTING BRIEF

                             A. NATURE AND STAGE OF THE PROCEEDING

           1.        On September 19, 2016, Plaintiff, Joe Hand Promotions, Inc. (hereinafter

“Plaintiff” or “JHP”) filed its Complaint [See Doc. No. 1] against Defendants, S H MAKANI

ENTERPRISE, INC., d/b/a ANTILLA SMOKE SHOP & LOUNGE and VICTORIA

CASTELLANOS, a/k/a VICTORIA KEELEY (hereinafter referred to as “Defendants”)

complaining of the unauthorized and illegal receipt and exhibition of the Miguel Cotto v. Canelo

Alvarez Broadcast, including all undercard bouts and the entire television broadcast, scheduled for

November 21, 2015 (hereinafter “Event”), at the establishment known as Antilla Smoke Shop &

Lounge located at 3261 N. Beach Street, Fort Worth, Texas (hereinafter “Establishment”), a

commercial business, without paying the sublicense fee to Plaintiff.

           2.        On April 25, 2017, default was entered against Defendants. See Doc. No. 20.

           3.        JHP hereby seeks the entry of a final default judgment against Defendants for

statutory damages under the Federal Communications Act of 1934, as amended.

             B. STATEMENT OF THE ISSUES AND SUMMARY OF THE ARGUMENT

           4.        This is an “Anti-Piracy” case under the Federal Communications Act of 1934, as

amended (the “Communications Act”). The Communications Act protects against the piracy of

radio and television signals. See 47 U.S.C. §§ 5531 and 605.2




1
 47 U.S.C. § 553 provides, inter alia, that:
No person shall intercept or receive or assist in intercepting or receiving any communications service offered over a
cable system, unless specifically authorized to do so by a cable operator or as may otherwise be specifically authorized
by law.
2
    47 U.S.C. § 605 provides, inter alia, that:
                                                           6
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         5.       “In general, ‘piracy’ refers to the decoding or decryption of scrambled

programming without the authorization of the programmer nor payment for the programming.”

U.S. v. Scott, 783 F.Supp. 280, 281 (N.D.Miss. 1992)(reviewing the legislative history of §

605(e)(4)).

         6.       By virtue of their default, Defendants have admitted to committing piracy against

Plaintiff.

         7.       The well plead facts in Plaintiff’s Complaint that Defendants illegally intercepted

the close-circuit telecast of the Event and exhibited the Event in Defendants’ Establishment

willfully and for purposes of direct or indirect commercial advantage or private financial gain

without authorization from Plaintiff are admitted [See Doc. No. 1]. Therefore, liability has been

established as a matter of law by default.

         8.       In this Motion, Plaintiff seeks statutory damages under 47 U.S.C. § 605, including

interest, costs, and attorney’s fees as is more fully shown herein.

                                         C. UNDISPUTED EVIDENCE

         9.       In addition to the admissions in Plaintiff’s Complaint [See Doc. No. 1], with this

Motion, Plaintiff files its Appendix in Support of Plaintiff, Joe Hand Promotions, Inc.’s Motion

for Final Default Judgment against Defendants and Supporting Brief [See Appendix Page Nos. 1-

3], which provides the following evidence to support a Final Default Judgment against Defendants:




. . . No person not being authorized by the sender shall intercept any radio communication and divulge or publish the
existence, contents, substance, purport, effect or meaning of such intercepted communication to any person. No person
not being entitled thereto shall receive or assist in receiving any interstate or foreign communication by radio and use
such communication (or any information therein contained) for his own benefit or for the benefit of another not entitled
thereto.


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   Exhibit A: Attached to the Appendix as Exhibit A and incorporated by reference is a
   certified copy of the Texas Limited Sales, Excise, and Use Tax Permit inquiry for the
   subject Establishment from the Texas Comptroller of Public Accounts (taxpayer number
   redacted) and Certificate of Amendment, Texas Franchise Tax Public Information Report
   for Report Year 2015, and Texas Franchise Tax Public Information Report for Report Year
   2016 for Defendant, S H Makani Enterprise, Inc. (taxpayer number redacted) from the
   Texas Secretary of State. See Appendix, Exhibit A, Appendix Page Nos. 4-9.

   Exhibit B: Attached to the Appendix as Exhibit B and incorporated by reference is the
   Affidavit of Joe Hand, Jr., President of Plaintiff, Joe Hand Promotions, Inc., forming the
   basis for an award of statutory damages under the Communications Act. See Appendix,
   Exhibit B, Appendix Page Nos. 10-16. Additionally, the Affidavit includes the following
   exhibits:

          1. A true and correct copy of the Closed Circuit Television Distribution
             Agreement (redacted) between Plaintiff and the promoters of the Event,
             providing Plaintiff with the exclusive right to license the exhibition of the Event
             to commercial establishments such as Defendants’ Establishment, attached to
             the Appendix as Exhibit B(1) and incorporated by reference (See Appendix,
             Exhibit B(1), Appendix Page Nos. 17-30);

          2. A true and correct copy of the Rate Card for the Event, attached to the Appendix
             as Exhibit B(2) and incorporated by reference (See Appendix, Exhibit B(2),
             Appendix Page No. 31); and

          3. A true and correct copy of the Affidavit of Myles Ortiz (“Plaintiff’s Auditor”),
             an eye-witness, who entered Defendants’ Establishment on the night of the
             Event and observed the Event being exhibited on a large projection screen,
             counting approximately 6 people in the Establishment at that time, attached to
             the Appendix as Exhibit B(3) and incorporated by reference (See Appendix,
             Exhibit B(3), Appendix Page Nos. 32-39).

   Exhibit C: Attached to the Appendix as Exhibit C and incorporated by reference is the
   Affidavit for Attorney’s Fees and Costs. See Appendix, Exhibit C, Appendix Page Nos.
   40-43. Additionally, the Affidavit includes the following exhibit:

          1. True and correct copies of the service of process invoices, attached to the
             Appendix as Exhibit C(1) and incorporated by reference (See Appendix,
             Exhibit C(1), Appendix Page Nos. 44-45).




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                                          D. UNDISPUTED FACTS

        10.      Pursuant to Plaintiff’s Complaint3 and the evidence presented, the following facts

are established as a matter of law by default:

        a. Defendants operated the Establishment on the night of the Event. See Plaintiff’s
           Complaint, Doc. No. 1 at ¶¶ 2-3 and Appendix, Exhibit A, Appendix Page Nos. 4-9.

        b. Plaintiff is in the business of marketing and licensing commercial exhibitions of pay-
           per-view prizefight events. See Appendix, Exhibit B at ¶ 4, Appendix Page No. 11.

        c. Plaintiff possessed the proprietary rights to exhibit and sublicense the right to exhibit
           the Event. See Id. and Appendix, Exhibit B(1), Appendix Page Nos. 17-30.

        d. Through an agreement with the promoters of the Event, Plaintiff was licensed to exhibit
           the Event at closed circuit locations such as racetracks, bars, nightclubs, restaurants,
           and other commercial establishments throughout the State of Texas. See Plaintiff’s
           Complaint, Doc. No. 1 at ¶¶ 7-9, Appendix, Exhibit B at ¶ 4, Appendix Page No. 11,
           and Appendix, Exhibit B(1), Appendix Page Nos. 17-30.

        e. In Texas, the Event was legally available to commercial establishments only through
           an agreement with Plaintiff. See Appendix, Exhibit B at ¶ 4, Appendix Page No. 11
           and Appendix, Exhibit B(1), Appendix Page Nos. 17-30.

        f. In order to safeguard against the unauthorized interception or receipt of the Event, the
           interstate satellite transmission of the Event was electronically coded or scrambled and
           was not available to or intended for the use of the general public. If a commercial
           establishment was authorized by Plaintiff to receive the Event, Plaintiff authorized the
           receipt of the signal(s) or authorized the establishment’s cable or satellite provider to
           release the Event to the establishment, depending upon the establishment’s equipment
           and provider. See Appendix, Exhibit B at ¶¶ 4-6, 8, 10, Appendix Page Nos. 11-13.

        g. Authorized commercial establishments which contracted with Plaintiff were required
           to pay to Plaintiff a sublicense fee to receive the Event. This sublicense fee is based on
           the fire code occupancy of the establishment. Here, the Establishment had an
           approximate occupancy of thirty-five (35) people. According to the Rate Card, the fee
           for a legal broadcast would have been $2,200.00. See Appendix, Exhibit B at ¶ 8,
           Appendix Page No. 12, Appendix, Exhibit B(2), Appendix Page No. 31, and Appendix,
           Exhibit B(3), Appendix Page Nos. 32-39.



3
 By Defendants’ default, the Court should accept the well pleaded allegations of facts in the Complaint. See e.g.,
Nishimatsu Constr. Co. v. Houston Nat’l Bank, 515 F.2d 1200 (5th Cir. 1975).
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           h. On the night of the Event, Plaintiff’s Auditor, an eye-witness, entered the Antilla
              Smoke Shop & Lounge establishment located at 3261 N. Beach Street, Fort Worth,
              Texas on November 21, 2015 and observed the Event being broadcast on a large
              projection screen, counting approximately 6 people in the Establishment at that time.
              See Appendix, Exhibit B at ¶ 9, Appendix Page Nos. 12-13 and Appendix, Exhibit
              B(3), Appendix Page Nos. 32-39.

           i. Defendants could not have obtained the transmission of the Event had Defendants not
              undertaken specific wrongful actions to intercept, receive and exhibit the telecast of the
              Event. See Appendix, Exhibit B at ¶¶ 10-11, Appendix Page Nos. 13-14.

                                      E. ARGUMENTS & AUTHORITIES

       1. THE COMMUNICATIONS ACT

           11.      The unauthorized interception and broadcast of cable or satellite transmissions

violates 47 U.S.C. §§ 553 or 605. Section 553 covers the interception or receipt of cable

communications (communications traveling over cable wire) and Section 605 covers the

interception or receipt of radio communications (communications traveling through the air).4

Accordingly, unlawful interception, receipt, and broadcast of the signal of the Event are violations

of the Communications Act.

           12.      “The FCA is a strict liability statute, and the plaintiff is required only to prove the

unauthorized exhibition of the intercepted transmission.” See Cause No. 4:11-cv-01773; Joe Hand

Promotions, Inc. v. Macias (Memorandum and Order)(S.D.Tex., March 19, 2012)(Atlas,

N.)(referencing KingVision Pay-Per-View, Ltd. v. Lake Alice Bar, 168 F.3d 347, 349 (9th Cir.

1999)(the finding that bar had, without authorization, shown a preliminary bout required judgment

in favor of the plaintiff)).




4
    See J&J Sports Productions, Inc. v. Mandell Family Ventures, L.L.C., 751 F.3d 346, 352-53 (5th Cir. 2014).
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       13.     On the night of the Event, Defendants owned and operated the Establishment; the

Event was exhibited at the Establishment without authorization or payment to Plaintiff, the

exclusive holder of the commercial license. See Doc. No. 1 at ¶¶ 2-3, Appendix, Exhibit A,

Appendix Page Nos. 4-9, Appendix, Exhibit B at ¶¶ 4-7, 9-10, Appendix Page Nos. 11-13,

Appendix, Exhibit B(1), Appendix Page Nos. 17-30 , and Appendix, Exhibit B(3), Appendix Page

Nos. 32-39.

       14.      In order for an unauthorized commercial establishment to receive a broadcast such

as the Event, there must be some wrongful action such as using an unauthorized decoder, obtaining

cable or satellite service and illegally altering the cable or satellite service to bring the signal of

the Event into the Establishment or moving an unauthorized decoder or satellite card from its

authorized location to the Establishment. See Appendix, Exhibit B at ¶¶ 10-12, Appendix Page

Nos. 13-14; See also, e.g., KingVision Pay-Per-View, Ltd. v. Jasper Grocery, 152 F.Supp.2d 438,

442 (S.D.N.Y. 2001)(“In order to access the telecast, it would have been necessary to use an

unauthorized decoder, to illegally divert cable service or improperly relocate an authorized

decoder” ... “In any of these scenarios, the illegality of the action would have been apparent to the

perpetrator”); and Time Warner Cable v. Googies Luncheonette, Inc., 77 F.Supp.2d 485, 490

(S.D.N.Y. 1999)(when finding willfulness the court stated, “There can be no doubt that the

violations were willful and committed for purposes of commercial advantage and private gain.

Signals do not descramble spontaneously, nor do television sets connect themselves to cable

distribution systems”).




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         15.      Defendants’ default alone establishes liability as “. . . . conduct on which liability

is based may be taken as true as a consequence of the default.” Frame v. S-H, Inc., 967 F.2d 194,

205 (5th Cir. 1992)(citations omitted).

         16.      Given the above, it is clear that Plaintiff has met its burden with respect to liability

in this matter.

         17.      In this Motion, Plaintiff submits evidence to support damages under the

Communications Act, specifically seeking damages under 47 U.S.C. § 605.

         18.      In 1988, in an effort to further deter piracy, Congress amended the Communications

Act to provide for more severe penalties for violations. “The Committee wants to give both

prosecutors and civil plaintiffs the legal tools they need to bring piracy under control. The

Committee commends and encourages inter-industry efforts to deal with piracy, and believes the

new remedies and increased penalties adopted through this provision will contribute to these

important efforts.” See U.S. v. Scott, 783 F.Supp. 280, 282 (N.D.Miss. 1992)(referencing 1988

U.S. Code Cong. & Admin. News 5577, 5657-58).

         2.       STATUTORY DAMAGES UNDER 47 U.S.C. § 605(E)(3)(C)(I)(II)

         19.      As its first basis for relief, Plaintiff requests statutory damages pursuant to 47

U.S.C. § 605(e)(3)(C)(i)(II). See Cable/Home Communication Corp. v. Network Productions,

Inc., 902 F.2d 829, 850 (11th Cir. 1990).5




5
 It is in the Plaintiff’s discretion whether to elect to receive actual or statutory damages. Id. See also, Entertainment
by J&J, Inc. v. Al-Waha Enterprises, Inc., Civil Action No. H-01-2514, 2002 U.S. Dist. LEXIS 16247, at *17 (S.D.
Tex. July 24, 2002)(“A majority of the courts that have dealt with a violation of both sections of the FCA award
damages only under Section 605....”)(citations omitted).
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          20.   Pursuant to the Communications Act, the amount of statutory damages to which

Plaintiff is entitled for each violation shall be not less than $1,000.00 and not more than $10,000.00

under 47 U.S.C. § 605(e)(3)(C)(i)(II). For the reasons set forth herein, Plaintiff seeks statutory

damages pursuant to 47 U.S.C. § 605(e)(3)(C)(i)(II) against Defendants in the amount of

$10,000.00 for Defendants’ violation of the Communications Act in connection with the Event.

          21.   Statutory damages are appropriate where actual damages are difficult to prove. See

Lauratex Textile Corp. v. Allton Knitting Mills, Inc., 519 F.Supp. 730, 732 (S.D.N.Y. 1981); Lottie

Joplin Thomas Trust v. Crown Publishers, Inc., 592 F.2d 651, 657 (2d Cir. 1978). The lack of

adequate proof of any particular element causes the Court to rely, within its discretion, on the

statutory limitations. See F.W. Woolworth Co. v. Contemporary Arts, Inc., 344 U.S. 228, 233

(1952).

          22.   As stated above, and supported by the evidence attached hereto, on the date of the

Event, Defendants or Defendants’ agents, servants, and/or employees intercepted and received or

assisted in the interception and receipt of the live telecast of the Event, broadcasted or assisted in

the broadcast of the Event to the patrons at Defendants’ Establishment, and broadcasted the Event

to the patrons at Defendants’ Establishment without paying any sublicense fees to Plaintiff. See

Doc. No. 1 at ¶¶ 2-3, 7-14, 16, Appendix, Exhibit A, Appendix Page Nos. 4-9, Appendix, Exhibit

B, Appendix Page Nos. 10-16, Appendix, Exhibit B(1), Appendix Page Nos. 17-30, Appendix,

Exhibit B(2), Appendix Page No. 31, and Appendix, Exhibit B(3), Appendix Page Nos. 32-39.




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         23.      In the instant case, as more fully discussed below, it would be impossible to

determine the full extent of the profits lost by Plaintiff and the additional damages sustained by

Plaintiff as a result of Defendants’ unlawful actions. Accordingly, Plaintiff elects to receive

statutory damages.

         24.      Because the statute defining statutory damage awards for violations of the

Copyright Act of 1976, 17 U.S.C. § 101 et seq. (the “Copyright Act”) is analogous to the

Communications Act,6 its case law is influential in analyzing the amount of statutory damages to

which Plaintiff is entitled.7

         25.      Applying the courts’ analysis from their decisions under the Copyright Act, the lost

income from the sale of the Event to Defendants’ Establishment represents only a starting place

for the determination of the amount of damages to which Plaintiff is entitled as a result of

Defendants’ wrongful acts.8 Factors to consider in determining a statutory damage award include:



6
  17 U.S.C. § 504(c)(1) provides as follows:
Statutory damages. (1) Except as provided by clause (2) of this subsection, the copyright owner may elect, at any time
before final judgment is rendered, to recover, instead of actual damages and profits, an award of statutory damages
for all infringements involved in the action, with respect to any one work, for which any one infringer is liable
individually, or for which any two or more infringers are liable jointly and severally, in a sum of not less than $750 or
more than $30,000 as the court considers just.

7
 According to the United States Supreme Court, when determining the applicable statutory damage award under the
Copyright Act, the amount of profits lost by the copyright holder is not the only criteria for a Court to consider.
Woolworth, 344 U.S. at 233. Rather, “a rule of liability which merely takes away the profits from an infringement
would offer little discouragement to infringers. It would fall short of an effective sanction for enforcement of the
copyright policy. The statutory rule, formulated after long experience, not merely compels restitution of profit and
reparation for injury but also is designed to discourage wrongful conduct. The discretion of the court is wide enough
to permit a resort to statutory damages for such purposes. Even for uninjurious and unprofitable invasions of copyright
the court may, if it deems it just, impose a liability within statutory limits to sanction and vindicate the statutory
policy”. Id. at 233.
8
  See, e.g., Entertainment by J&J, Inc. v. Al-Waha Enterprises, Inc., 219 F.Supp.2d 769, 776 (S.D. Tex. 2002)
(“Merely requiring Al-Waha to pay the price it would have been charged to obtain legal authorization to display the
Event does nothing to accomplish this objective of the statute. There would be no incentive to cease the violation if
the penalty were merely the amount that should have been paid.”)(citations omitted).

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(1) “the market value of the rights infringed”, (2) “the revenue lost by the plaintiff and profits

gained by the defendant,” (3) “the infringers state of mind” and (4) “deterrence of future

infringement.” See Basic Books, Inc. v. Kinko’s Graphics Corp., 758 F.Supp. 1522, 1544

(S.D.N.Y. 1991). For an establishment with an occupancy of 35 people, the sublicense fee would

have been $2,200.00. See Appendix, Exhibit B at ¶ 8, Appendix Page No. 12 and Appendix,

Exhibit B(2), Appendix Page No. 31.

       26.     Congress emphasized that these incidents threaten to undermine the satellite

industry and adversely impact legitimate satellite dealers and satellite programmers who otherwise

would be receiving payment for their programming or descrambling devices. See Scott, 783

F.Supp. 280, 281 (referencing 1988 U.S. Code Cong. & Admin. News 5577, 5642-43).

Significantly, there are no countervailing social or policy considerations which justify the

unauthorized interception of these broadcasts. See ON/TV of Chicago v. Julien, 763 F.2d 839, 843

(7th Cir. 1985); and Subscription Television of Greater Washington v. Kaufman, 606 F.Supp. 1540,

1544 (D.D.C. 1985).

       27.     Plaintiff should receive additional compensation as it has been deprived of the

“value, benefits, and profits derived” from the unauthorized broadcast of the Event to Defendants’

Establishment and their patrons as well as the value of “business investment, business

opportunities, reputation, and goodwill,” in addition to the lost revenue which would have been

derived from the delivery and exhibition of the Event to Defendants’ Establishment and their

patrons. See American Television and Communications Corp. v. Floken, Ltd., 629 F.Supp. 1462,

1466 (M.D.Fla. 1986).




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       28.     Types of damages suffered by Plaintiff and factors related to same include the

following:

   a. Plaintiff loses customers, which are unwilling and financially unable to compete with those
      unauthorized commercial establishments, which steal sports and other closed-circuit
      programming.

   b. Because these unauthorized commercial establishments offer the stolen programming to
      their patrons for no fee or for a fee which is less than the authorized establishments, the
      legitimate commercial establishments with the right to broadcast closed-circuit
      programming attract less paying customers. As a result, the authorized commercial
      establishments fail to recover the sublicense fees paid, suffer the loss of patrons and/or
      incur financial loss.

   c. Theft of closed-circuit broadcasts such as the Event, by unauthorized commercial
      establishments such as Defendants’ Establishment, adversely affects both Plaintiff and its
      customers. Plaintiff pays substantial fees to obtain the right to sublicense the broadcast of
      closed-circuit programming to authorized commercial establishments. Plaintiff’s primary
      source of revenue is the sublicense fees which it charges to authorized commercial
      establishments for the right to broadcast closed-circuit sports and entertainment
      programming such as the Event.

       See Appendix, Exhibit B at ¶¶ 5, 12-14, Appendix Page Nos. 11, 14-15.

       29.     Each visitor of Defendants’ Establishment is lost as a future patron of authorized

broadcasts. See Cox Cable Cleveland Area, Inc. v. King, 582 F.Supp. 376, 381 (E.D. Ohio 1983).

Plaintiff suffers ongoing loss to its goodwill and reputation and loss of its right and ability to

control and receive payment for the transmission, because patrons viewing the pirated event at

Defendants’ Establishment would have become patrons of an authorized establishment thereby

increasing the value of the Event and Plaintiff’s business opportunities. See Appendix, Exhibit B

at ¶¶ 5, 12-14, Appendix Page Nos. 11, 14-15; see also Quincy Cablesystems, Inc. v. Sully’s Bar,

Inc., 640 F.Supp. 1159, 1161 (D. Ma. 1986).




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       30.     After experiencing serious erosion in sales of its proprietary programming to

Plaintiff’s commercial customers resulting from rampant piracy of Plaintiff’s broadcasts, Plaintiff

took affirmative action to protect its proprietary programming. See Appendix, Exhibit B at ¶¶ 5-7,

Appendix Page Nos. 11-12. Domestic commercial establishments were required to pay Plaintiff a

commercial sublicense fee to broadcast the Event. See Appendix, Exhibit B at ¶ 8, Appendix Page

No. 12 and Appendix, Exhibit B(2), Appendix Page No. 31. The detrimental effects of signal

piracy include the loss of revenue to Plaintiff, the increased costs to those lawful residential and

commercial customers of cable and satellite broadcasting, and the loss of tax revenue to the

communities where Plaintiff’s potential customers reside. See Appendix, Exhibit B at ¶¶ 12-14,

Appendix Page Nos. 14-15.

       31.     Therefore, when an unauthorized commercial establishment intercepts, receives,

and broadcasts closed-circuit programming such as the Event, Plaintiff’s reputation and goodwill

suffer from what is perceived as a lack of consequence. See Id. An incalculable element of

damages is the ill-will and possible loss of future business from legitimate commercial

establishments which refuse to pay sublicense fees because they cannot compete with unauthorized

commercial establishments which steal closed-circuit programming such as the Event. See Id.




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       32.     The continued viability of Plaintiff’s business relies upon the willingness and

ability of commercial establishments to pay sublicense fees for the right to broadcast closed-circuit

sports and entertainment programming such as the Event. See Appendix, Exhibit B at ¶¶ 5, 12-14,

Appendix Page Nos. 11, 14-15. If such programming is made available to the public for no fee at

unauthorized commercial establishments which have not purchased the right to broadcast such

programming, commercial establishments will find no reason to purchase the right to legally

broadcast this type of programming. See Id.

       33.     Given the benefits which Defendants received from the broadcast of the Event and

the types of damages Plaintiff suffered, it is fair and reasonable to assess damages against

Defendants, jointly and severally, and award to Plaintiff statutory damages in the amount of

$10,000.00.

       3.      DAMAGES FOR WILLFUL ACT UNDER 47 U.S.C. § 605(E)(3)(C)(II)

       34.     Plaintiff also requests damages pursuant to 47 U.S.C. § 605(e)(3)(C)(ii) in light of

Defendants’ actions being willful and “for purposes of direct or indirect commercial advantage or

private financial gain.” In ON/TV of Chicago v. Julien, 763 F.2d 839, 844 (7th Cir. 1985), the

Court of Appeals for the Seventh Circuit interpreted willful under the Statute as “disregard for the

governing statute and an indifference to its requirements.” Id. at 844 (quoting TransWorld Airlines,

Inc. v. Thurston, 469 U.S. 111, 127 (1985)).




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          35.     Defendants specifically and willfully acted to illegally intercept the transmissions

of the Event for Defendants’ commercial advantage, because Defendants could not have

“innocently” accessed the broadcast of the Event.9 See Appendix, Exhibit B at ¶¶ 10-11, Appendix

Page Nos. 13-14.

          36.     Simply, the complexity of intercepting transmissions makes it impossible to

mistakenly or “innocently” access the broadcast of the Event. Defendants knew that it was wrong

to receive, intercept, and divert the signal of the Event and to broadcast it in Defendants’

commercial Establishment. See KingVision Pay-Per-View, Ltd. v. Jasper Grocery, 152 F.Supp. 2d

438, 442 (S.D.N.Y. 2001); see also Time Warner Cable v. Googies Luncheonette, Inc., 77

F.Supp.2d 485, 490 (S.D.N.Y. 1999)(when finding willfulness the court stated, “there can be no

doubt that the violations were willful and committed for purposes of commercial advantage and

private gain. Signals do not descramble spontaneously, nor do television sets connect themselves

to cable distribution systems”(emphasis added). See also KingVision Pay-Per-View, Ltd. v. Valles,

EP-CA-179-DB, 2001 U.S. Dist. LEXIS 24268, at *9 (W.D. Tex. March 30, 2001)(Briones,

D.)(“While Defendants may not have been well-versed in the statutory restrictions on the

unauthorized interception of satellite transmissions, the Court finds that there must have been some

knowledge on the part of Defendants that such interception could not be had for free.”)(emphasis

added).



9
   See Joe Hand Promotions, Inc. v. Malespin, 2001 U.S. Dist. LEXIS 2037, at *9-10 (S.D.N.Y. Feb. 27,
2001)(Nathaniel, K.)(“The respective defendants elected not to enter into contracts with plaintiff to obtain the
transmission of the Program. Their only means of obtaining the Program, and to avoid paying the legal subscription
rate for a commercial establishment, would be: (a) using an illegal descrambler in a satellite receiver; (b) using a pirate
cable box; (c) registering their respective commercial establishments as residential sites rather than commercial; and
(d) ordering the Program for their respective residences and moving their residential cable boxes to their commercial
establishments. The Court finds that employing any one of these means to defraud plaintiff would be evidence of
willfulness and would support an award of enhanced damages.”)(emphasis added).
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         37.     Defendants’ purpose and intent in exhibiting the Event were to secure a private

financial gain and direct commercial advantage by pirating Plaintiff’s licensed exhibition and

infringing upon Plaintiff’s rights while avoiding proper payment to Plaintiff. 10

         38.     Defendants owned and operated the Establishment on the night of the Event. See

Doc. No. 1 at ¶¶ 2-3 and Appendix, Exhibit A, Appendix Page Nos. 4-9. On the night of the Event,

the Establishment, with an established storefront, had an active Sales, Excise, and Use Tax Permit

for the sale of hookah and smoking accessories while patrons watched the Event. See Appendix,

Exhibit A, Appendix Page Nos. 4-9 and Appendix, Exhibit B(3), Appendix Page Nos. 32-39.

Given the above, Defendants’ actions were clearly willful and for a commercial advantage

warranting additional damages under the Communications Act.

         39.     Generally, it is reasonable to increase an actual or statutory damages award by a

specific percentage to penalize Defendants for willful acts.11 Plaintiff requests that this Court hold

Defendants accountable for a substantial amount; otherwise, other commercial establishments

“would be encouraged to violate the law knowing the full extent of their liability would not exceed

what they would have to pay for a license on the open market.” See Fallici v. New Gazette Literary

Corp., 568 F.Supp. 1172, 1174 (S.D.N.Y. 1983). The award of additional damages should be

significant to deter Defendants and other unauthorized commercial establishments from stealing

protected communications.



10
  See J&J Sports Productions, Inc. v. Papagallos 1, Inc., Civil Action No. A-08-CA-691-SS (W.D.Tex. April 17,
2009) (Sparks, S.)(Order)(Doc. No. 13)(“The undisputed evidence establishes the Event was broadcast to paying
customers of Defendant’s commercial establishment and thus the violation was for commercial advantage or private
gain.”).
11
  See e.g., Lauratex, 519 F.Supp. at 733 (increase of seven times the actual damages for willful acts); Cable/Home,
902 F.2d 829 (additional damages of five times actual damages for willful conduct); and Entertainment by J&J, Inc.,
219 F.Supp.2d at 777 (S.D. Tex. 2002)(the court awarded three times statutory damages for willful violations).
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       40.     Therefore, pursuant to Section 605(e)(3)(C)(ii), in addition to the reasons set forth

above, the minimum amount of Fifty Thousand Dollars ($50,000.00) (or five times (5) the amount

of statutory damages, if $10,000.00 in statutory damages awarded) should be awarded to Plaintiff.

The following authority also supports an award of additional damages:

       a. To deter future pirating of cable and satellite broadcasts. See, e.g., KingVision Pay-Per-
          View, Ltd. v. Scott E.’s Pub, Inc., 146 F.Supp.2d 955, 959-60 (E.D.Wis. 2001)
          (discussing multipliers of three to eight (3 to 8) times the statutory damages as
          additional damages in order to deter future communication theft).

       b. To deter actions involving theft, fraud, and conversion. See Entertainment by J&J, Inc.
          v. Tia Maria Mexican Restaurant & Cantina, Inc., 97 F.Supp. 2d 775, 778-779 (S.D.
          Tex. 2000)(Gilmore, V.)(“[a] suit for illegal reception and broadcast of a cable signal
          implicates several areas of the law [including fraud and theft].”); and ProStar v.
          Massachi, 239 F.3d 669, 675 (5th Cir. 2001)(analogizes violation under
          Communications Act to conversion).

                            F. ATTORNEY’S FEES AND COSTS

       41.     Plaintiff requests an award of attorney’s fees and costs pursuant to 605(e)(3)(B)(iii).

Under Section 605(e)(3)(B)(iii), the award of attorney’s fees is mandatory. According to Section

605(e)(3)(B)(iii), “[t]he Court... shall direct the recovery of full costs, including awarding

reasonable attorneys’ fees...”

       42.     Plaintiff seeks an attorney’s fees award for the prosecution of this action through

the final default judgment requested. See Appendix, Exhibit C, Appendix Page Nos. 40-43. In

addition, Plaintiff seeks an award of costs, which costs have been proven by affidavit with the

attached service of process invoices. See Appendix, Exhibit C at ¶ 8, Appendix Page No. 42 and

Appendix, Exhibit C(1), Appendix Page Nos. 44-45.

                                           G. CONCLUSION

       43.     In conclusion, the averments that Defendants, willfully and for purposes of direct


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or indirect commercial advantage or private financial gain, illegally intercepted the closed-circuit

telecast of the Event, and that Defendants exhibited the Event in Defendants’ commercial

Establishment without authorization and without paying the licensing fee to Plaintiff are deemed

admitted and supported by evidence. See Plaintiff’s Complaint, Doc. No. 1 and the exhibits

attached to the accompanying Appendix.

       44.     Accordingly, pursuant to the Communications Act and the statutory damages

permitted thereunder, Plaintiff seeks the entry of a final default judgment in favor of Plaintiff and

against Defendants for the relief sought in this Motion.

                                           H. PRAYER

       Plaintiff respectfully requests that the Court sign and cause to be entered a final default

judgment in favor of Plaintiff, JOE HAND PROMOTIONS, INC. and against Defendants, S H

MAKANI ENTERPRISE, INC., d/b/a ANTILLA SMOKE SHOP & LOUNGE and VICTORIA

CASTELLANOS, a/k/a VICTORIA KEELEY, awarding Plaintiff:

       (1)     Statutory damages pursuant to 47 U.S.C. § 605(e)(3)(C)(i)(II) from Defendants,

jointly and severally, in the amount of $10,000.00; and

       (2)     Additional damages pursuant to 47 U.S.C. § 605(e)(3)(C)(ii) from Defendants,

jointly and severally, in the amount of $50,000.00; and

       (3)     Attorney’s fees from Defendants, jointly and severally, in the amount of the hourly

time presented in the Affidavit for Attorney’s Fees and Costs (for prosecution of this case through

the final default judgment) along with attorney’s fees for post-trial or appellate services;

       (4)     Costs from Defendants, jointly and severally, in the amount of $880.00; and

       (5)     Post-judgment interest at the highest lawful rate; and


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       (6)       Such other and further relief to which Plaintiff is entitled.

                                                        Respectfully submitted,

                                                        JAMIE KING, P.C.
                                                        /s/ Jamie King
                                                        Jamie King
                                                        Attorney-in-Charge
                                                        State Bar No. 24043755
                                                        P.O. Box 5757
                                                        Kingwood, Texas 77325
                                                        (832) 584-0106 Telephone
                                                        (888) 247-0443 Facsimile
                                                        Jamie@jamiekingpc.com

                                                        ATTORNEY FOR PLAINTIFF,
                                                        JOE HAND PROMOTIONS, INC.

                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 17th day of May, 2017, true and correct

copies of the foregoing were served as follows:

Via U.S. Mail, Postage Prepaid and Certified Mail, Return Receipt Requested upon:

 S H Makani Enterprise, Inc.,                         S H Makani Enterprise, Inc.,
 d/b/a Antilla Smoke Shop & Lounge                    d/b/a Antilla Smoke Shop & Lounge
 Attn: Victoria Castellanos                           5053 Heritage Oaks Dr.
 3261 N. Beach Street                                 Colleyville, Texas 76034
 Fort Worth, Texas 76111

 Victoria Castellanos,                                Victoria Castellanos,
 a/k/a Victoria Keeley                                a/k/a Victoria Keeley
 5721 Frio Dr.                                        4312 Joy Lee St.
 Haltom City, Texas 76137                             Haltom City, Texas 76117
 Victoria Castellanos,
 a/k/a Victoria Keeley
 2803 Oscar Ave.
 Fort Worth, Texas 76106

/s/ Jamie King                                                          5/17/17
Jamie King                                                              Date

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